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                     EXHIBIT 2
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                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 20598310
Notice of Service of Process                                                                            Date Processed: 10/27/2019

Primary Contact:           Shelley Lambert
                           State Farm
                           1 State Farm Plz
                           # D-2
                           Bloomington, IL 61710-0001

Electronic copy provided to:                   Steve McAnarney
                                               Matthew Melick

Entity:                                       Twenty-One Eighty-Five, LLC
                                              Entity ID Number 3437850
Entity Served:                                Twenty-One Eighty-Five, LLC
Title of Action:                              Kelly Arndt vs. Twenty-One Eighty-Five, LLC
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Class Action
Court/Agency:                                 Broward County Circuit Court, FL
Case/Reference No:                            CACE-19-021264 (09)
Jurisdiction Served:                          Delaware
Date Served on CSC:                           10/25/2019
Answer or Appearance Due:                     20 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Robert W. Murphy
                                              954-763-8660

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
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   Case 0:19-cv-62902-CMA Document 1-3 Entered on FLSD Docket 11/22/2019 Page  3 of 36 1.9
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                                                                                                       RT-- Lvc4r lg.6a

                                                               IN TIIE CIRCUIT COURT OF TI-IE 17TH
                                                               JUDICIAL CIRCUIT, IN AND FOR
                                                               BROWARD COUNTY, FLORIDA

                                                               CASE NO.: CACE-19-021264 (09)

        KEL.,.LY A.RNDT and SHI.R.LEY S.I.L,KISS,
        individually and o/b/o all others sijnilarly           C.LASS ItE1'ItESENTATI®N
        situated,

                        Plaintiffs,
                                                                                     ,
        vs.

        TWENTY-ONE EIGF-ITY-FIVE, LLC,
        a Delaware limited liability company,
        and STATE FARM BANK, F.S.B.,
        a 1.'edera.l savings bank,

                        Defendants.


        THE STATE OF FLORIDA:
        To Eacli Sheriff of the State:

                 YOU ARE COMMANDED to serve this Sumnions and a copy ofthe Complaint or.Petition
        in this action on the Defendant, T'WENTY-C)NE EIGII'I'Y-F.IVE, .LLC, a Delaware limited
        liability company, through its Registered Agent:

                                      C®12I'®RATIQN SFIaVICE COMPANY
                                          251 LI'TTLE FA.LLS I3ItIVE
                                       WILNIING"I'ON, IIEL.AWA12E 19808

                Each Defendant is required to serve written defenses to the Complaint or Petition on
        Plaintiffs attorney, whose name and address is: Robert W. Murphy, Esquire, 1212 S.E. 21ld
        Avenue, Fort I_,auderdale, Florida 33316; (954) 763-8660, within twenty (20) days after se.t-vice of
        this Summons on that Defendant, exclusive of the day of servic.e, and to file the oriainal of the
        defenses with the Clerk of this Court either before se.rvice on the Plaintiff"s attorney or immediately
        thereafter. If a Defendant fails to do so, a default will be e.ntered against that Defendant for the
        relief demanded in the Complaint or Petition.

               WITNESS zny hand and the seal of this Court o.il this          day of_      OCT 23 201.9

                                                                                                         \~G~3IT
                                                                       BRENDA D. FORMAN
                                                                       Clerk o f Court
                                                                                                      ;
                                                                       By                             LO) ~
                                                                            :_
                                                                                 As Deputy Clerk

                                                                                              RENDA D.
          ~** FILED: BR0WARll COUNTY, FL BRENDA D. FOR!~•1AN. CLERK 1®/11i2~19 A9:17:55 P;1-i.*'k°k*
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                                               IMPORTANTE

    Usted ha sido demandado legalmente. Tiene (20) dias, contados a partir del recibo de esta
    notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal. Una
    llamada telefonica no lo protegera.; si usted desea. que el tribunal considera du defensa, debe
    presentar su respuesta por escrito, incluyendo el ntimero del caso y los nombres de las partes
    interesadas en dicho caso. Si usted no contesta la demanda a tiempo; puedes perder el caso y podria
    ser despojado de sus ingresos y propiedades, o. privado de sus derechos, sin previo aviso del
    tribunal. Existen otros requisitos legales. Si lo desea, puede usted consultar a un abogado
    immediatamente. Si no conoce a un abogado, puede llamar a una de las oficinas de asistencia legal
    que aparecen en la guia telefonica.

    Si desea responder a la demand por su cuenta, al mismo tiempo en que presenta su respuesta ante
    al tribunal, debera usted enviar por cor.reo o entregar una copia de su respuesta a la persona
    denominada abajo como "Plaintiff/Plaintiff's Attomey." (Demandate o Abogado del Demandate).

                                                IMPORTANT

    Des poursuites juficiaries ont ete entreprises contre vous. Vous avez (20) jours consecutifs a partir
    de la date de 1'assignation de cet'te citation pour deposer une response ec.rite a la pl.ainte ci. joi.nte
    aupres de ce Tribunal. Un simple coup de telephone est iiisuffisant pour vous proteger; vous etes
    oblige de deposer votre response ecrite , avec mention du numero de dossier ci-dessus et du nom
    des parties nommees ici, si vous souhaitez que le Tribunal entende votre cause. Si vous ne deposez
    pas votre response ecrite dans le relai requis, vous risquez de perdre la cause ainsi que votre salaire,
    votre argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis ulterieur du Tribunal.
    11 y a d'autres obligations juridiques et vous pouvez requerir les services immediats d'un avocat.
    Si vous ne connaissez pas d'avocat, vous potirriez telephoner a wi service de reference d'avocats
    ou a un bureau d'assistance juridique (figurant a 1'annuaire de telephones).

    Si vous choisissez de deposer vous-meme une response ecrite, il vous faudra egalemente, en meme
    temps que cette formalite, faire parvenir ou expedir une copie au carbone ou une photocopie de
    votre reponse ecrite au "Plaintiff/Plai.ntiff's Attorney" (Plaignant our a son avocat) nomme ci-
    dessous.



                                   ROBERT W. MURPHY, ESQ.
                                      1212 S.E. 2ND AVENUE
                                FORT LAUDERDALE, FLORII)A 33316
                                   TELEPHONE: (954) 763-8660
                                   FACSIMILE: (954) 763-8607

                        E-RIAIL: RWMURPHY@LAWFIRMIVIURP IY.C'OM
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                                                                          IN TIIE CIRC:UIT COURT OF THF.., 17TH
                                                                          ;IUDICIAL CIRCUIT, IN AND FOR
                                                                          BROWARD COUNTY, FLORIDA.

                                                                          CASE NO.: CACE-19-021264 (09)

         KE.LLY ARNDT and SI IIRLEY SILKISS,
         individually and o/b/o all others sin7ilarly
         situated,
                                                                          CLASS + PRESENTA'TION
                           Plaintiffs,

         vs.

         TWENTY-ONE EIGUTY-FIVE, LLC,
         a Delaware limited liabilitv company,
         and STATE FARM BANK, F.S.B.,
         a federal savings bank,

                           Defendants.
                                                             /

                           CC)MRLAINT FDR DAMAGES ANI) INCIDEN'I'AL.I2ELIEF
                  Plaintiffs, Kelly .Arndt, an individual ("Ms. Arndt"), and Sh.irley Silkiss, an individual

         ("M.s. Silkiss'") (collectively th.e "Class Relxesentatives"), on behalf o:f the.mselves and all others

         similarly situated, by and through their undersigned attorneys, sue Defendants, Twenty-One

         Eighty-Five, LLC, a Delaware limited liability conipany ("State Farm Ilolder"), and State Farm

         Bank, F.S.B., a federal savings bank ("State Farm Bank''), and state as follows:

                                                        11►Yr11 t7~7Til~l li:[i1►1

                           This class actioti seeks equitable and monetat-y rclief to redress an unlawful and

         deceptive pattern of' practice ot' wrongdoin~ perpetuat-ed by State Farm Bank with respect to the

         sa.le of vehicles after repossession without providing the proper notices to vehicle owners in.

         contravention of the requirements of the Uniform Commercial C:ode ("UCC"). I



         1 As the UCC is the primary source of law for the creation and enforcement of a security interest througliout the fifty
         states, the Class Representatives inay, at times, refer to the operative sections of the UCC, as presented in the UCC
         Article, as opposed to a specific state statute, unless the specifc state statutory authority is relevant.
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           2.      As more particularly described below, Defendants violated the iJCC in the

    following respects:

                   A.      the failure to clearlv identify the type of sale to be conducted and, if public,

    the time and place of a public disposition or the time after wllich any other disposition is made as

    required by Fla. Stat. 679.613;

                   B.      the failure to disclose that Plaintiffs and other class members were entitled

    to an accounting of the unpaid indebtedness and the charge, if any, for an accountinb, as required

    by Fla. Stat. §§679.614(1.)(a) and 679.613(1)(d);


                   C.      the failure to disclose the correct time period for redemption of the vehicle

    at any time prior to disposition in accordance with Fla. Stat. §679.623(3); and

                   D.      the failure to provide the secondary borrower with notice before disposition

    of tlle collateral pursuant to §679.611(3)(b).

            3.     Plaintif:Fs bring thi:s action on behalf o:f themselves and all othei- sienilarly situated

    Florida consuniers wllo purchased vehicles f nanced by State Farm Banlc that were "consumer

    goods," whose vehicles were repossessed and as to whom State Farm Banlc failed to cornply with

    the disclosure requirements of §679.614, Florida Statutes.

            4.     Plaintiffs seek declaratory, injtulctive, or other equitable relief; and an award ot

    actual and statutory damages as provided for under Florida law, both under the UC.~C and Florida

    Statutes Chapter 559, et seqtir, lcnown more comnionly as the `'Florida Consunier Collection

    Practices Act" ("FCCPA"), and such other further relief thi.s Court may deem appropriate.

                                      ALLEC'TA'I'ICIaNS TO PA12TIES

            5.      At all times material hereto, Ms. A.rndt was sui . juris and a resident of T'scambia

    County, Florida.



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            6.      At al) times material hereto, IYis. Silkiss was saci,juris• and a resident ot Broward

    County, Florida.

            7.      At all times rnatet•ial hereto, State Fanii Bank was a federal savings bank with its

    principal place of business in Bloomington, Il]inois. As part of its business, State Farm Banlc

    provided ititer crlia financing to purchasers ofnew and used motor vehicles nationally in the I.Jn.ited

    States, including in the State of .Florida.

            8.      At all times material hereto, State Farm Holder was a Delaware limited liability

    company wliich was a wholly owried subsidiary of State Farm Bank with its principal place of

    business in Bloomington, I.Ilinois. As pa3•t of its business, State Farm I-I.older receives assignments

    of consumer loans from its parent, State Farm Bank.

            9.      At all times material hereto, State Farm Banlc acted as the servicer for the loans

    assigned to State Farrn Holder.

                    ALLFGA7'IONS COMiYION TO ALL CAITSES GF AC1'ION

            10.     On or about September 6, 2017, Ms. At-ndt entered into an agreement with State

    Farm Bank to finance the purchase of a motor vehicle (`'Arndt Finance Agreement'")

            1.1..   Ms. Silkis — the mother of Ms. Arndt — is a co-borrower an the Arndt Finance

    Agreement.

            12.     A true and correct copy of. the A_rndt Finance Agreement is attached liereto and

    incorporated by reference as EYhibit "A'".

           13.      Pursuant to the Arndt Finance Agreement, liis. Arndt Cnanced tlie purchase af a

    2017 Mazda I41X-5 M.iata ("Arndt Vehicle") for her• personal and household purposes.

           14.      After the consummation of Arndt Finance Agreement, State Farrn Bank assigned

    or sold the Arndt Finance Agreement to State Farm Holder for unknown consideration and under

    unknown terms.


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           15.      After the assignnient of the Arndt Finance Agreernent, State Fartn Banlc continued

    to service the Arndt .Finance Agreement, including the collectioti of installment payments.

           16.      On or about October 25, 2018, State Farm Banlc repossessed the Arndt Vehicle.

           17.      On or about October 31., 2018, State Farm Bank selit to Ms. Ai•ndt a notice advising

    Ms. Arndt of the intent of State Farm Bank to dispose of the Arndt Veliicle i_n purported compliance

    with the reduirements of the tiCC ("Arndt Notice .of Sale").

           18.      A true and correct copy of. the Arndt Notice of Sale is attached hereto. and

    incorporated by reference as E\hibit "B''.

           19.      The Arndt Notice of Sale fai.ls to comply witll Artic.le 9, UCC, in the following

    respects:

                    A.     Failure to [dentify Method of Intended Disposition: the Arndt Notice of Sale

    ambiguously states that State'Farm Banlc intended to dispose of the Arndt Vehicle by '`private sale

    or any other commercially reasonable nianner on or before November 15, 20 l. g,'° without

    identifying the type of sale in contravention of Fla. Stat. §679.613(1)(c).

                    B.     Failure to Disclose Details of Public Sale: if the disposition was by public

    sale, State Farm Banlc failed to disclose the time and place of the public disposition or the time

    after whicli any other disposition was to be made which is required pzusuant to Fla. Stat.

    §679.613(1)(e).

                    C.     Failure to Properly Disclose Right of Redemption: the Arndt Notice of Sale

    falsely advised Ms. Arndt of Iler right to redeem the vehicle "on or before. November 15, 2018"

    whereas .Fla. Stat. §679.623 allows a borrower to redeem collateral "at any tinie prio- to

    disposition".

                    D.     Failure to Disclose Right to Accounting: the Arndt Notice of Sale states it

    "will provide a written aceounting regarding the clis7aosition of the motor vehicle," rather than an


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    accounting of the unpaid indebtedness and the charge, if anv, for an accounting, as required by

    Fla. Stat. §§679.614(l.)(a) and 679.613(1)(d).

            20.       State Farm :Bank did not send Ms. S illciss, as a co-borrower under the Arndt Finance

    Agreement, a notice of the intended disposition of the Arndt Vehicle pursuant to Fla. Stat.

    §679.61 1.(3)(h).

            21.       On information and beliet; the Class R.epresentatives allebe that the defective notice

    of sale represented by the Artidt Notice of Sale, attached hereto as Fxhibit "A," or'variants of it

    containinb one or more instances of non-compliance with Fla. Stat. §679.614, is the standard notice

    ("Notice of Sale") tliat State Farm Bank lhas sent to Florida consumers since at least January 1,

    2002, the effective date of revised Article 9, UCC.

            22.       Under the UCC, with respect to consumer goods transactions, a notification that

    lacks anv of dle information required under Fla: Stat. §679.614(l) is insufficient as a matter of

    law. IJCC Comnient, Note 1, Fla. Stat. §679.614(l).

            23.       Under the UCC, "evefy, non-conzpliunce witlr the a•equirenretits oj' Ptrrt 6 in a

    consumer-goncLs transaction t•esults in lirchility, regardless of rcny injury tlrat inay have Nesulted."

    UCC Comment, Note 4, Fla. Stat. §679.625 (emphasis added).

           Post-Renos4ession Credit Renof•tin~r und Cnllection 14ctivities ofStccte F'trrna Pank

           24.        Fla. Stat. 5679.626, and the previous §679.507, as interp-eted by the Flot•ida

    Supreme Court in lYeiner v. fimerican Petyofitaa Ji~Iarketing. Inc:., 482 So.2d 1362, 1365 (.1986),

    provides that wlien a secured party fails to comply with §679.614's notice requirements, the

    proceeds of a disposition of collateral are presumed to be equal wit11 the sum of the indebtedness.

    Thus, it is statutorily presumed that the secured party is due no deficiency, after the disposition of

    the collateral.




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            25.     To rebut the statutory presimlption and Iawfully seek to collect deficiency balances

     from borrowers issued defective post-.repossession notices, the secured party must establish that

     the amount of the proceeds that it would have realized is less than the indebtedness pursuant to

     Fla. Stat. §679.626(4) and the former §679.507( l).

            26.     Ai:ter the sale of the Arndt Vehicle, State Farm Bank sent to Ms. A.rndt a collection

     n.otice ("A_r.ndt De :ficiency Collection Notice") in pw•ported conipliance with Fla. Stat. §679.616.

            27.     A true and correct copy of the Arndt ®et7ciency Co(lectioti Notice is attached liereto

     and incorporated herein by reference as Exhibit "C".

            28.     On information and belief. the Class' Representatives allege that the collection

     notice represented .Arndt .Deficiency Collection Notice is the standard notice ("Deficiency

     Collection Notice") that State Farm Banlc sent to consumers to collect deticiencies after the sale

     of repossessed vehicles.

            29.     The Class Representatives are informed and believe and, on that basis, allege that

     Defendants have lcnowingly collected or attempted to collect deficiency balances from consumers

     who were sent defective post-repossession notices under Fla. Stat. §679.614, through inief- crlia the

     Deficiency Collection Notice, without overcoming the statutory presumption, barring the

     collection of such deficiencies or accounting for or prov.iding for a set-of.f in the amount o:f the

     statutory damages set forth under Fla. Stat. §679.625(3)(b).

                                        Attorn.eys' Fees Entitlen7ent

            30.     The loan agreement represented by Arndt Finance Agreement is a standard contract

     (`°Finance Agreement'') used by Defendants to extend credit to consumers such as Plaintiffs and

     persons similarly situated.




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              31.    Tl.le Finance Agreement provides fbr the recovei-y of attorney's fees and costs in

     the event the holder of the fnance agreement is required to tak:e any action to enforce the terms

     thereof.

              32.    The Class Representatives have retained the undersigned la«~ firnis to represent

     their interest hercin atld are obligated to pay said {irnis a reasonable fee for its services.

              33.    Pursuant to Fla. Stat. §57.105(7), when a contract contains a provisiot} allowing

     attorney's fees to a party wlhen he or she is required to talce any action to enforce the contract, the

     court may also allo`v reasonable attorney's fees to the other party (whether as plaintiff or

     defendant) when that party prevails in the contract action.

                              C.IaASS REPRESFNTATI®N ALI..EGA't'I®NS

                                               Defrnition o f ' Class

              34.    Pursuant to Rule 1.220(c)(2)(D)(ii), Florida Rules of Civil Procedure, the class is

     composed of all Florida residents who, in the four (4) years precedinb the filing of tlle instant

     action to the date llereof:

                     (a)     have or had a tinance agreement ("Finance Agreement") held by State Farm

     I3ank;

                     (b)     had their motor vehicle and otller personal. property reposse:ssed by State

     Farm Bank or its agents;

                     (c)     wet-e sent a post-repossession notice in the form or substantially similar

     form as the Notice of Sale, or in the case of a co-obtigor were not sent notices in the form of

     EYhibits "B"; and

                     (d)     xvho have not obtained a discharge in bankruptcy applicable to any such

     Finance Agreement.




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             35.     The class c.ontains a subclass ("Deficiency Collection Notice Sub-Class")

     consisting of all class members wlio meet all of the requir•ements of the class definition contained

     above, and who were sent a Deficiency Collection Notice in the form of Exhibit "C" (or in the case

     of a co-obligor were not sent a notice) and have been subjected to collection for a deficiency.

                                   Statement of'Maintainalile Clrass C'lainLs

             36.     Pursuant to Rule 1.220(c)(2)(A), Florida R.ules of Civil Procedure, this is a case

     maintainable on a class-wide basis pursuant to Rule 1.220(b)(2) and (b)(3), Florida Rules of Civil

     Procedure, and the Class Representatives brina this action o~.i behalf of themselves and of a class

     of all other persons similarly situated, to reniedy the ongoing unfair, iuilawful, and/or deceptive

     business practices alleged herein, and seek redress on behal:f of all those persons who have been

     harmed thereby.

                             IdentiLeration of Common Questions ofLatio, or Fact

             37.     Pursuant to Rule 1.220(c)(2)(B), Florida Rules of Civil Procedure, there are

     questions of law and fact common to the Class, whieh conimon issues predominate over any issues

     involving owing individual class niembers.

             38.     The factual yuestion common to the Class Representatives and to each class

     niember is that eacli was sent a letter in the :fonn oi- substantiallv simi.lar form of the Notice of Sale

     (represented by Eahibit "B").

             39.     With respect to the Deficiency Collection Notice Sub-Class, the factual question

     common to the Class Representatives and to each class mem.ber is that each was a letter in the

     form or substantially similar form of the .Deficiency Collection Notice (represealted by L-;Yhibit

     "C") or has been subject to collection and credit reporting by State Farm Bank in an attempt to

     collect a deficiencv.
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             40.     Pursuant to Rule 1.220(c)(2)(B), I'lorida Rules of Civil Procedure, the principal

     legal question common to the Class Representatives and to each class member is whether the

     Notice of Sale complies with Florida law with respect to providing the disclosures set forth under

     Fla. Stat. § §679.614(l) and 679.613(1.).

             41..    Pursuant to Rule 1.220(c)(2)(B), Flot•ida Rules of Civil Procedure, the principal

     legal question common to tlle Class Representative and to each member of the Deiiciency

     Collection Notice Sub-Class is whether State Farm Bank attempted to collect a deticiency without

     overcoming the statutory presumption barring the collection of sucll defiiciencies or accountinD for

     or pi-oviding for a set-off in the amount ofthe statutory damabes under Fla. Stat. §679.625(3)(b).

                                           Alleaations of T'Vpieality

            42.      Pursuant to Rule 1.220(c)(2)(C), Florida Rules of Civil Procedure, the Class

     Representatives' claims are typical of those of the classes tlieti- seelc to represent in that the Class

     Representatives wei-e sent fonn notices in the forms of Exhibits "B" and "C" or in the case of a

     co-oblibor, such as Ms. Silkis, were not sent notices in the forms of Exhibits "B" and "C", and

     have been subjectcd to the collection and credit reporting activities described above. As such, the

     claim oCthe Class Representatives is identical to that ofthe class members.

                                          .411e:sations oflVatmerositV

            43.      In the consume.r Cnaiice industry in Florida, similar financ.ial institutions

    experience a default rate of 3% to 5% of their portfolios. &,e, 1Vational C'rea'it Union

    Adrninistration {)uarterly Repprl, 1st Quarter 20.18 [delinquency rate for auto loans held by credit

     unions at 5.5 % for first quartet- of 201 b);N'eiv YorkFederal Reserve Uttarterly.Report (1 st Quarter

    2018) [delinquent auto loans at 4.3%]; see, generally, S. Abarw•al and B. Ambrose, Househald

    C'reclit Usage (2007). Based on the best due diligence and the experience of Class Counsel, the




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     Class Representatives belie.ve that Stdte Farm Bank repossessed over seventv-five (75) veliicles

     and otller personal property in a calendar year in the State of Florida.

           44.      Based on the foregoing; the prospective class numbers are at least in the hundreds

     and are so numerous that joinder of all m6mbers would be impractical. The exact size of the

     proposed class and the identity of the memlier:s thereol' ai•e readily ascertainable from State Farm

    Bank's business records.

                                        14clerruu6y of'C'Icrss Re2r-esetxtativeb

            45.     Pursuant to :Rule 1.220(c)(2)(D)(i'ti), Florida Rules of Civil Procedttre, the Class

     Representatives will fairly and adequately protect and represent the interest ot each class mernber.

            46.     '1:'he Class R.epresentatives have retained counsel «ith substantial eaperience in

     handling class actions in federal and state court. Further, counsel for the Class Representatives

     have substantial eaperience in litigating individual and class actions under the UCC.

             47.    The Class Representatives llave no contlicts of interest wliich would interfere with

     their ability to represent the interest of the class members.

             48.    A class action is superior to other rnethods for the fair and eff cient adjudication of

     this controversy. Because the damages suffered by the individual class members may be relatively

     small co.mpared to the eapense and btrden of litigation, it would be impractical and economical.ly

     unCeasible for class members to seek redress in.dividually. 'f.he prosecution of separate actions by

     the itidividuai class members, even if possible, would create a risk of inconsistent or varying

     adjudications witli respect to the individual class members against State Farm Bank.

             49.    '1 he Class Representatives are represented bw counsel competent and eYperienced

     in both consumer protection and class action litigation.

             50.    Members of the proposed class who have an interest in individually controlling the

     prosecution of separate claims against State Farm Banlc will not be prejudiced by this action. Each


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     member of the proposed class will be identified through discovery from State Farm I3ank and will

     be notified and given an opportunity to opt out ofthe class.

             51.       "Che Class Representatives do not presently lcnow the nature and extent of any

     pending litibation to which a member of the proposed classes is a partv and .in which any question

     of law or fact con.troverted in the present action is to be adjudicated. The Class Representatives

     will identity any such pending litigation by discovery from State Farm Bank.

            52.        This Court is an appropriate forum for the present action, in that Nls. Silkiss, as a

     Class Representative, was and is, at all times 1lerein mentioned, and has been, a resident of this

     county and a secondary borrotiver under the Ariidt Finance Agreement; and State Farm 13ank does

     business providinb frnai~cing of consumer goods to consumers throubhout the State of Florida and

     in this countv.

            53.    . There are no dif.ficulties likely to be enco.untered by the Court in the mana;etnent

     of this proposed class action.

             54.       The Class Representatives' counsel is entitled to a reasonable fee from the class

     members or from a common fund for the handlirig of,this action.

                           Appr•oprautE'ness ofHyGricl Clcr.ss crtuler Rule .1.220 (b)(2) and t3)

             55.       Cet-titication of a class under Rule 1.220(b)(2), Florida R.tiles of Civil Procedure, is

     appropriate as Defendants has acted on grounds generally applicable to the Class u~ith respect to

     the collection and credit reportinb activity described above, thereby makinb appropriate equitable

     relief with respect to the Class as a wliole. Unles:s restrained from sucli activities, Defendants will

     continue to unlawfully harm the interests of the Class Representatives and the class for which no

    adequate rernedy at law exists.

            56.        Certification of a class under Rule 1.220(b)(3), Florida Rules of Civi1 Procedure, is

    also appropriate in that:


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                    (a)     The questions of law or fact conimon to tlie members oi' the class

    predominate over atay questions affecting an individual class meixtber; and

                    (b)     A class action is superior to other available methods for the fair and efftcient

    adjudication of the controversy.

            57.     The Class Representatives request certification of a"hybrid" class for mc:metary

     damabes under R.ule 1.220(b)(3), and fo-r equitable relief under R.ule 1.2?0(b)(2), Florida R.ules of

     C,ivil :Procedure. See, Pensorr tj. Terfytinal Tranaport Cv., 1i7e., 634 F.?d 989, 994 (Sth Cir.1981);

     Agcrn v. Kalvtna►1 & Kof•r, P.A., 222 F.R..D. 692 (S.D.F1a.2004).

                       COUNT I- ACTION FOR VIOLATION OF ARTICLE 9
                               UNIFOI2M COIVIMERCIAL COI.lE
                                    (Against State I+arrn Iiolder Only)

             58.    This is an action involvin~ an amount in controversy in excess of Fifteen Thousand

     Dollars ($15,000), exclusive of interest, costs and attorney's fees.

             59.    Plaintiffs realle(ye and reincot-porate herein by, reference the allegations of

     paragraphs 1 tlirouah 57 above as though fully set forth herein.

             60.    As detailed above, the UCC regulates a secured party's right to dispose of collateral

     followitlg default.

             61.    As detailed above, Defendants have engaged and are en~aging in on~oing n:iateria.l

     violatioils of the lau,- in that the post-repossession notice it provided to 1'laintif.fs and all other

     consurners similarly situated, followitig the repossession of a motor veliicle, failed to contain the

     statutoi-ily mandated disclosiu•es and iirforniation required under the IJC:C. Defendants have thus

     deprived Plaintiffs and other niembers of the class of substantial consumer ribhts granted to th.e.rn

     under Florida law.

             62.     Fiecause State Farm Flolder has disposed of the class members' vehicles and issued

     notices to class niembers wliich fail to provide them the required ilrformation and disclosures to


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     whicli tlrev are entitled under Florida law, State Farni lIolder is liable to Vis. Arn.dt and to each

     proposed class member for an amount "not less than the cred_it sea-vice charge plus 1.0 pe.rcent of

     the principal amount of the debt or the time-price differential plus 10 percent of the cash price."

     §679.625(3)(b) (efifective l/1102) and the forrner §679.507(l), Florida Statutes.

             63.     State Farm iIolder's failure to provide the statutorily mandated post-repossession

     notice to Plaintiffs and the class members precludes it frorn seeking deCciencies fi-om tliem. As

     State Farm Bank failed to provide proposed class members «%ith the statutorily mandated notice,

     the proceeds of disposition of the collaterat are presu:med to equal t.he indebtedness. §679.626(2),

     (3), (4), Florida Statute. To the exterit Defeiidants have collected oi• attempted to coll.ect

     deficiencies from proposed class membei•s without first introducing proof of a different value of

     the vehicle, Defendants have done so unlawfully. As Defendants failed to rebut the statutory

     presumption that Plaintiffs and each class members' vehicle was equal in value to the alleged

     indebtedness, Defendants have no ricyht to collect or attempt to collect deficiencies from proposed

     class mernbers.

             64.     As a direct and proximate result of the acts hereinabove alleged and State Farm

     Holder's ongoing unlawful condtict, Ms. Arndt and the members of tlle proposed class laave been

     damaged and have sufFered economic losses in an amourrt to be proven at trial.

            WHI;REFORE, Plaintiffs pi•a_y for relief as set for•th befow.

                         COIJNT II - ACTION F'Olt I)ECLARATORY RELIEF

            65.      This is ari action for equitable relief involv;ing an amount in controversy in excess

     of Fifteen Thousand llollars ($ I 5,000), exclusive of -interest and costs.

            66.      Plairrtiffs real.lege and reincorporate herein by reference the allegations of

     paragraphs l through 57 above as though set forth in full herein.




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            67.     An actual controversy has arisen betiveen Plaintiffs and the members of the

    proposed class, on the one hand, and State .Farm Holder, on the otller hand, as to their respective

     rights, remedies and obligations. Specifically, Plaintiffs allege that the acts and practices of State

     Farm Bank, as hereinabove al:leged, are unlawful, unfair and.lor deceptive, and that they and other

     members of the proposed class are not liable,for any deficiency balances following disposition of

     their repossessed motor vehicles, are entitled to restitution for any atid all amounts paid pursuant

     to demands by State Farm Holder for such deficiencies, plus interest, and are entitled to statutozy

     damages and any other such amounts of restitution or damabes as the Cout-t may order. State rarm

    1-tolder contends to the contrarv.

            68.     Accorditigly, Plainti:ffs seek a declaration as to their respective riglits, remedies,

     and obligations of the parties.

            WIIEREFORE, Plaintiffs pray for relief as set forth below.

                         C®iJNT III - ACTIC3N F®R ITN,TIUST ENRICI-IMENT

             69.    This is an action for equitable relief involving an amount in controversy in excess

     of Fifteen Tliousand Dollars ($15,000), eYclusive of interest and costs.

             70.    Plaintif'fs realleae and reincot-porate herein by reference the allegations of'

     paragraphs l throuah 57 above as set forth in full herei.n.

             71.    PlaintifFs contend that Defendants have been unjustly enriched at the elcpense and

     to the detriment of the class members by collecting monies to which it is not entitled.

             72.    Although it would be uniust for .Defendants to retain monies wrongfully collected,

     Defendants failed or refused to reftuid the amounts `vrongfully collected and unlawfiilly seeks to

     collect additional amounts to which it is not entitled.

             WIIE:RErORE, :Plaintiffs pray for relief as set forth below.




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                           COUNT IV - ACTION FOR VIOLATION OF
                      FLORII)A CONSUMER COLLFCTION I'RACTICFS ACT
                           (As to Deficieiicv Collection Notice Sub-Class)

             73.     This is an action for violation of Florida Statutes Chapter 559, et seq7ci,lcnown more

     commonly as the "Florida Consumer Collection Practices Act" ("FCCPA"), seeking damages in

     excess of Fifteen Thousand Dollars ($15,000.00), eYclusitire of interest, costs and attorney's fees.

             74.     PlaintiCfs reallege and reincorporate 1lerein by reference the allegations of

     paragraphs l through 57 above as set fortlh in full herein.

             75.     At all times material hereto, the monies purportedly owed under the Finance

     Agreement constituted "debt" or "consumer debt" as defined under Fla. Stat. §559.55(l).

             76.     At all times material hereto, Plaintiffs «rere "debtor(s)" or "consumer debtor(s)" as

     defined under Fla. Stat. §559.55(2).

             77.     At all times material lhereto, State Farm Qank was a"creditor" as defined tnlder Fla.

     Stat. §559.55(3).

             78.     As more particularly described above, with respect to the Deffciency Notice Sub-

     Class, Defendants violated the FCCPA in that it has claimed, attempted or tlireatened to enforce a

    debt when it knew that the debt was not legitimate or asserted the existence of some other legal

     i-i.ght when it knew that the ribht did not exist in contravention of Fla. Stat. §559.72(9), to-wit: th.e

    right to collect a deticiency in an amount and in a manner not authorized by the UCC.

             79.     As a direct and proximate result of the violation of the FCCPA by Defendatits, the

    Class Representatives are eacli entitled to recover statutory daniages in the amount of $1,000.00

    together with an aggrebate award of additional statutory damages not to exceed tlle lesser of

    $.500,000 or 1°'o of the net worth of Defendants for all remaininb class members pursuant to Fla.

    Stat. §559.77(2).




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             80.     Pursuant to Fla. Stat. §559.77, the Court is enipowered to enjoin Defendants from

     further violatio.n of the A.ct and to direct such other and fiu-ther equitable relief as may be n.ecessary

     and proper.

             81.     Pursuant to Fla. Stat. $559.72(2), the Class Representatives are entitled to recover

     reasonable attorney's fees and costs for the filing of the instant action.

                                            PRAYFIt .FO12 I2E.LIF.F

             WHEREFORE, Plaintiffs respectfully pray for relief as follows:

            .A.      For an order certifying this claim as a class action;

             B.      For an ordea• findin~ and declaring that the acts and practices as cllallenged hereiii

     are unlaNvful, unfair and deceptive;

             C.      For an order finding and declaring that Plaintiffs and the class members do not owe

     State Farm I-Iolder any of tlie deficiency balances purportedly owed following disposition ofi their

     vehicles;

             D.      For an order preliminarily and permanently enjoining Defendants from engaging in

     the practices challenged herein;

             E.      For an order of restitution and/or disgorgement in an amount to be determined at

     trial, which arnount is at least equal to all sums collected by Defe.ndants for alleged deCciency

     balances following the disposition of r-epossessed motor vehicles in violation of Florida law;

             F.      For statutory damages against State Fat•m Holder for each class member in the

     amount oi'either the credit service charge plus ten percent ofthe principal aniount ofthe obiibation,

     or the time-price di.fferential plus ten percent of the cash price, wliichever is greater, pursuant to

     Fla. Stat 679.625(3)(b);

             G.      For statutory and actual damages against Defendants for the Deficiency Collection

     Notice Sub-Class members pLirsuant to Fla. Stat. §559.77;


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             H.      For an ordei- requirinD Defendants to reniove any adverse credit information which

     State Farm Batnk previously repot-ted to credit reportin ; orbanizations o.n the deficiency balances;

             I.      For pre judgment interest to the extent permitted by la«;

             J.      For an award of attorney's fees, costs an.d eYpenses incurred in the investigation,

     fiiling and prosecution of this action to the extent permitted by law pursuajlt to Fla. Stat. §57.105(7)

     and §559.72(2); and

             K.      For such other and further relief as the Court may deem just and proper.



             Plaintiffs, .Kelly Arndt and Sliirley Silkiss, ptu-suant to Rule 1.430, Florida Rules of Civil

     Procedure, demand a trial by juty of all issues so tt iable.

            DATED on tlhis 11 th day of October, 2019.



                                                                      is% Rohert F1-j MurphL
                                                                       ROBERT W. MiJRPHY, ESQ.
                                                                    .. Florida Bar No.: 717223
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                                                                     . Fort Lauderdale, FL• 3331 Ci
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                                                                     Cotinsel for Plaintiffs



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        EX.HIBI.T   I
                                                             A
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                                     1i(L ,                                                  REFERENCE #: ltiuuGGGu127492

                                                         PROMISSORY NOTE AND SECURITY AGREEMENT

                                                          Borrower.       t-L- Kelly Aroue
                                                          Address:     11,-O2 N 98.th Ave
   State Farm Bank, F.S,B.                                             ?ensacola* -FL 3250G-•1-7: 4
   Bloomingtan, lL                                        Co-Borrower: (4s shirlev Silt:;.ss
   877-734-2265                                           Co-Borrower•
                                                          Co-Borrower•
   Ddte: Q'i:'fln'!2^17                                   Co-Borrower•
                                                          Co-Borrower•
   Promise to Pay: The undersigned C'Borrower", "you" or "your"1, jointly:and severally, promise(s) to pay.to ttie order of 5tate Farm
   Bank, F.S.B. ("Lender') at P.O. Bo.x 5961, hladison, Wisconsin 53705-0961, the Amount Financed showh below with interest (Finance
   Charge) on the unpaid balance of the Amount Financed aithe Annual Percentage Rate ("APR") shown belowand accruing daily unti)
   tlie Amount Financed is paid in full. Interest shall be computed on the basis of a year Consisting of 365 days or 366 days for leap years
   and charged for lhe actual number of days elapsed. Borrower.shalt make payments according to the.payment schedule shown below.
   The due date of the final payment is the fnal maturity of ihis Promissory Note and Security Agn:ement ("Note"), and any remaining
   unpaid amounts shall.be due and owing on that date. The. Total.of.Payments and Finance Charge shown below are.estima4es bas.ed on
   Borrovrer making the proper payment on each scheduled due date. Payments made.after any due date will increase the.lotal.amount.of
   Finance Charge and To.tal of Payments.
                                                         TRUTH (N LENDING•DISCLOSURES
            ANNUAL                         FINANCE CHARGE                   Amount Financed                       Total of Payments
      PERCENTAGE RATE                   The do0ar amount4he credit will The amount of credfi provided to    The amouril you will have paid aRer you
       The cost of your credit                     cost you.                 you or on your behaU.          have made all payments as,schedu►ed.
         as a yearty rate:
                    5.240 % $.8.029.53                                      40;302.39                      $ 4L,331.92.
   Your payment schedule will be:
   Nutnber of Pa ents'..          Amount or Pa ents:         When Pa ments are. due:
                 B~              $a75.38                     ~fanthlji               Beginning lor_i/^oi':
   (—I [Automatic.Payment Annual Percentage Rate Reduction] (check if:applicable)
    When lhis box is ched<ed, an APR reduction program.is in place and you have qualified for an APR reduction of 0.15%u by selecting
    rea,rring monthly electronic payments for this loan from an account viith•State Fanii Banka. The APR listed above includes this APR
    reduction wheti this bbx is checked.
    --                              -          ......... _.... _
   Property.insurance is requin:d. You may obtain property insurance from anyone acceptable to the Lender.
   Security: You are giving a security interest in .the motor vehicte, trailer, watercraft, motor, and other property listed as collateral
   below;_abd any proceeds.of this collateral beidg purchased or refrrianced with the Ioan proceeds.
    CoNaternWehicle       Year '                    Make                                Model                    Serial No. orVIN
       Autcrot;ile           "
                             zG"1?                      tdA2LA                     Mk-5' tdIA'GA C.RP.tJD 'POUI?!t     JM1NqAN75HO1t751c17



   Filing Fee: You agree to pay any lien 61ing rees.
   Late Charge: lf any payment is late more than 10 days.you wilt be charged 5% of the unpaid paymerit or $1U.o0, wliidiever is
   greater..
   Prepayment: If you pay thls Note off In full within 12 months of the date of thls Note, you will have to pay Lender a
   prepayrnent penatty of $100. If this Note includes a Mititary Lending ActAddendum, there will be no prepayment. penalty.
   Other Terms: See your contract terms on all pages of this Note for any additional information about nonpayment, defautt, and
   iequired repayment in fuil before the scheduled date, prepayrnent refunds and penailies and turther informaiion about security
   intzrests.




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                                                                                        REFERENCE if: 11,1 0000001270~a2
   IF YOU DO NOT MEET YOUR OBLIGATIONS UNDER THIS NOTE, YOU MAY LOSE THE VEHICLE YOU'PURCHASEO YY1T}t THIS
   LOAN, OR WHICH SERVES AS COLLATERAL FOR THIS LOAN.

   U!IE OF AGENT: Your financ'ing may be obtained through clerical assistance of a State Farm`= insurance agent or staff inember, .if so
   (1) no compensation of any kind is to be paid between.the seller of your vehicle and.the State Farrn agent or staff inember and (2) no
   refen•al relationship or arrangement is to exist benaeen the State Farm agent or staff inember and the seller of your vehicle relating lo
   the.purchase of your vehicfe or your loan unless this transaction is a -Purchase Money Loan' under 16 C.F.R. Section 433.1(d)
   authorized by Lender. Unless otherwise authodzed by Lender, you are to receive the credit apptication, this Note, and other
   documentation. for ihis Ioan. direclly from Lender or a State Farm agent or staff inember and not from tlie seller of the vehicle arid those
   documents are to be coinpleted and executed directly witli Lender or in the presence of the State Farm agent or slaN member: If your
   loan is being obtaiiied throtigh the assistance of a third party ("Agent"), you understand that the Agent is not an empioyee of Lender
   and the Agent is not authorized to make representations or bind Lender. :

   IF THE FOREGOING DISCLOSURE IS NOT AN ACCURATE STATEMENT OF THE Ut►AY YOUR LOAN TRANSACTION HAS BEEN
   HANDLED OR 1F YOU DO NOT UNDERSTAND ANY OF THE DISCLOSURE (NCLUDING WHAT CONSTITUTES A"PURCHASE
   MONEY LOAN," DO NOT EXECUTE ANY FURTHER DOCUMENTATION AND CONTACT STATE FARM BANK AT ONCE AT
   877-734-2265. IF YOU ARE DEAF, HARD OF HEARING, OR DO NOT USE YOUR VOICE TO COMMUNICATE, YOU h1AY
   CONTACT US VIA 711 OR OTHER RELAY SERVICES.
   By executing thls Note you acknowledge that you have received this disctosure, titat you have read this disctosure, that you
   understand this disctosure, and that your loan transaction has been handled in accordance witii the conditions stated above.

   The following Notice applies only if the transaction is a"Purchase Mon Loan" uttder i                                          R. Section
   433.1 ~I~
                                                                   ~lOTICE




   AMOUNTS PAIQ BY THE DEBTOR HEREUNDER,
                                                ADDITIONAL TERMS AND PROVISIONS
   PAYMENTS;, AII payments must be made in United States curn:ncy via check. money order, or electronic payment. Borrower may
   make a prepayntentof principal in full or in part et any time before maturity. If Borrower prepeys this Note in full, then Borrower may be
   required ta pay Lender a ptepayrnent penalty as dlsclosed above in Uie Truth in Lendtng Disclosures. Payments will generatly be
   apptied first to interest outstanding and then to principal on outstanding paynient instaliment(s) billed, continuing until no outstanding
   payment installments billed remain, and then to any late.fees. Any remaining oveipayment will be applied, unless otherwise agreed to
   by Lender, based upon the melhod of payment. Recurring preauthorized electronic transfer overpayments wilt be apptied to the last
   instailment(s) which viip not excuse or defer any scheduled payments until this Note is paid in full. Overpayments as a result of other
   payment methods will be applied to the principal of the next payment installment(s) and will reduce or satisfy the next payment(s) due.
   Mailed payments for the exact amount of the monthty payment installment plus late fee wil) be applied to the outstanding payment
   installment and late fee. Interest will acaue on'the unpaid principal balance iegardtess of whether payments are applied to the next
   payment due or to the last installment(s).

   SECURITY INTEREST: To secure payment of this Note and all renewats and extensions hereof, Borrower grants and ptedges to
   Lender a security interest in the vehicle described above; and all aftachments and all accessions thereto and all proceeds thereof
   ("Collateral").

   PERFECTION9F..SECURITY_INTEj2E~Ts Borrower is responsible for obtaining clear titte to the Collateral, including removing or
   paying off any lien(s) on the Collateral and alloWng Lender to place a first lien on the Cotlateral. To the extent allowed by appticabfe
   law. Lender is hereby appointed as Borrower's attomey-in-fact to do at Lender's oplion and at Borrowers expense all things necessary
   or desirabte to perfect, keep perfected and maintain Lender's security interest in the Collateral, to protect such Colleteral and to execute
   any document or instrument to perfect, keep perfected and protect such security interest of the Lender in the Collateral. Triis may
   include paying oft any senior liens on the Collat2ral to secure first lien position for Lender and any expenses inctrrred with such payoff
   rriay be charged to Borrower as fees due at payoH. Bdrrower further explicitty authorizes Lender, at Borrowec's expense, to order 'a
   duplicate tifle or undertake any other title woric necessary for Lender to perfect its security interest in the collaieral. IN NO EVENT WILL
   LENDER BE LIABLE TO BORROWER FOR FAILURE TO OBTAIN CLEAR TITLE TO THE COLLATERAL, INCLUDING REMOVING
   OR PAYING OFF ANY LIEN(S) ON THE COLLATERAL.


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                                                                                           REFERENCE if: 10000000123d92

   COLLATERAL• Borrovrer covenants, represents and agrees with Lender as follows: (a) that Borrower is the owner of the Collateral free
   from any lien, security interest, encumbrances or claim and will defend the Coltateral against the clairns and demands of all.persons;
   and (b) that Borrower will not sell, lease or encumber the Collaterat or grant any subsequent security interest therein nor part with
   possession thereo(; and (c) tllat if.Collateral is in the possession of Borrower, that Borrower will not remove.the Collateral from the fiitty
   United States (including the District of Columbia) without the priorwritten consent of Lender; and (d) that Borrower wrill not use or permit
   the Collateral to be used irt violation of any law, ordinance or policy of insurance covering said Coilateral; and (e) that Borrower <vill
   maintain the Collateral in good condition and repair and shall pay taxes and assessments levied on the Collateral; and (f} that the
   CoNateral may not be used in +a+liole or in part for hlre; and (g) that the Collateral will not be used as a residence. Borrower will promptly
   advise Lender of any change of address or change in location of the Collateral.

   (ii;~~pF PRDCEEDS: Tlie proceeds of this Note wilt be used to acquire llte Collateral or lo refinance prior indebtedness used to
   acquire ttte Collaterat, except to the extent there are excess proceeds (i.e., cash out proceeds) that may be used at. Borrowefs
   discretion, and Lender may disburse such non-excess proceeds to the seller of the Collateral or to such other lender.

   p—AXIMA..E...NT OBLIGATIONSi Loss, thefi, damage to, destruction and seizure of the Collateral shall not relieve Borrower from ihe
   payment and performance of any obligation hereunder or the indebtedness secured hereby.

   INSURgR9E_ Borrower shall procure and maintain insurance on the Collateral for the full term of this Note against the risks of fire,
   theft, collision and such other risks as Lender may require in such amounts and conditions and with such insurers as are satisfaclory to
   Lender, and Borrower shall delivar to Lender vrithin ten (10) days from the date of the Note, a:fully paid policy or policies of insurance
   containing a Lender's Loss Payable Clause (stating that the proceeds are payabie lo the Lender) In favor of Lender providing for ten
   (10) days prior wntten notice of cancellation. If Borrower shall fail, for any reason, to Insure ttie Collateral as required by this Note, or if
   Borrower's insurance shail be canceled. Lender at its option, may procure such.insurancz as shall be deemed necessary by Lender
   and advance the premium therefore on behalf of Borrower. Borrower promises to pay such premiurns to Lender, with interest thereon at
   the Annual.Percentage Rate shown above, as additional Indebtedness due hereunder and secured hereby, or Lender n►ay, at its option,
   declare all.obligatioris secured hereby to be immediately due and payable. Borrower assigns to Lender any unearned or retunted
   prerniums. To the extent allowed by applicable law, Lender is appointed Borrower's, attomey-irt-fact to endorse any checic or draft
   payable to Borrower in order to collect such unearned premiums or any benefits of such insurance. AII sums received by Lender as
   payrnent of insurarice losses or for fetum of premiL,ms under said policies of Insurance shall, at the optfon of Lender, be applied to the
   unpaid principal balance or to currenity. maturing Instatlmenis on thts loan.

   pANEE PROTECTOIR!;. In the event the Collateral is darnaged, destroyed, or stolen ("Loss") and the insurer of the Collateral
   has deterrnined that it is a totai loss under the temts of its insurarlce policy ("Total Loss") and Borrower has provided
   satfsfactory Written nottce of the Total Loss to Lender, Lender agrees as follows:

   AMOUNT WE 1MLL WAIVE: If EACH of the CONDITIONS of this provision are satisfied.and none of tlie EXCLUSI.ONS appfy; we will
   waive the difference between your unpaid prfncipal balance under tiiis Note as of the date of fite Loss and the eritire insurance
   settlement less:
   (1) gnv past due payment amounts (even within a grace.period) or extended payment atnounts (unless ex,pressly agreed to in vrriting bv
   its);
   (2) any amount Borrower could otherwise have collected from any Insurer through reasonable:ditigence; and
   (3) any deductions the insurance company rnay make (such as prior damage, condition adJustment, or salvage retentlorr value) when it
   honors Borrower's daim (excluding the deductible amount).
   Outstanding interest and fees as of the date of the l:oss will not be waived under this provision.

   PAYOFF PROTECTOR PROCESS: Once we are notified of a Loss anticipated to be a Total Loss and provided with the insurance
   claim number, any payment instalimerit due after the date of the Loss will not"be required while the Payoff Protector request is being
   prooessed by us, No additional late fees or interest will accrue during this tiine. If Payoff Protector is applied; ive will provide you with an
   updated loan. status that outlines any remaining amounts that may be owed. If Payoff Protector is not applled, monthly payment
   installments, interest accrual, and late fees (if'applicable).will resume, you'r ldan will be extended by one month for each suspended
   payment installment, and you All be proyided with updated documentation regarding yourloan.

   CONDITIONS: We will waive the amounl set forth above, provided EACH :of lhe foll.owing s..tipulations are-met and. none of ihe
   EXCLUSIONS apply:
   (1) this provision and this.Note are in effect;
   (2) Borrower has timely fiied a claim under any pollcy wltich may provide coverage (or does so upon our request) apd the Collateral is
   deter►nined to be a Total Loss by the insurer of the Collateral;
   (3) the insurance coverage on the Callateral required under this Note has been maintained, is currently in foice, and the full arnount of
   eny insurance proceeds is paid to us;
   (d) Bbrrower has complied with all other terms and conditions of the Note;

   ,oxo;p                                                             Pn2.3_r6                                              204 t2e:15 212 fraszo»
Case 0:19-cv-62902-CMA Document 1-3 Entered on FLSD Docket 11/22/2019 Page 26 of 36




                                                                                       REFERENCE A:
   (5) No other coverage is available under any guarantee.d asset protection coverage or credit insurance provided to Borrowertmder any
   insuran e..poiicy;
   (6) Borrower notifies us vrithin sixty. (60) days of tfie Loss and provides us with a copy of the settlement, declarations page of the
   policy„any accident or potice report and any other documentationwe request; and
   (7)Borrosver takes necessary steps to recover the Colla.teral ah8 prevent or reduce any further loss to the Collateral.

   EXCLUSIONS:.Notwithstanding anything in this provlsion to ttie contrary, Borrowerwill not be eligible for Payoff Protector and
   BoiTower will remain liable for any amounts owed under this Note if ANY of the following wnditions exists:
   (1 ) Borrower is thirty (30) days or more past due. as of the date of the Loss;
   (2)Bon'ower voluntarily surrenders the Collatera) lo us, we repossess the Collateral, or the Collateral is seized by any govemmental
   authority;
   (3)the Total Loss is due to acts of terrorism;
   (4)the Total Loss is excluded from coverage by the insurance coverage an the Collateral;
   (5) the Loss occurred before the loan funds underthis, Note were reteased by_us;
   (6)in the event muitiple pieces of Collateral appear on the Note, the amount waived for anv one piece of Collateral slialt be an amount
   of ihe oulstandtrig principal balance equal to the proportionate value of the Collateral, determined by us, as ot the Note date and the
   original principal balance of tfie loan.

   TERYt: This provision commences on the date this Note. becomes etfective and tenninates on the date this Note is terminated. In no
   event wil) the amount waived or benefit to the Borrower exceed the outstanding loan balance. This is NOT an insurance policy.

   RF.LUByFP INSTRUMENT CHARG.E: Borrower agrees to pay a charge of $25 for each check or instrument submilted as payment on
   this Note which is later retumed unpaid.

   E.VEN.TS OP DEFAUf T'_ALtAACGELERAT10N7 If Borrower.shall default in the payment, when due, of any Installment of this Note or
   in the payments or performance of any other obligation hereunder or indebtedness due fo Lender, or in case of loss, substantial
   damage to, destrucGon, saie, encumbrance, concealment, removal, attachment or levy upon the Collateral: or if any proceeding shall
   be instituted by or againsl Borrower (or Borrower's business) under any bankruptcy, insolvency or similar statute; or Borrower shall
   make.ari assignment for the benefit of creditors, or Lender shall deem itself Insecure; or upon ttie death or incompetency of:any
   Borrower, endorser or co-signer, or if Borrower rnakes, any representation, warranty, statement or signature lo Lender that is faise or
   misleadingl or if Borrower faits to maintain accurate contact inforniation vrith Lerider: then upon the happening of any of the foregoing
   events of default, Lender at its.option may declarz the unpaid balance oithis Note including accrued interest and all other
   indebtedness and obligations of Borrower to Lend"er Immediately due and payabie, without notice or demand. Borrower agrees to pay
   all of Lendet's reasonable costs arid expenses In enforcing this Note or ln reaiizing upon the Collateral, including court costs and
   reasonabte attorneys' fees, to the extent permiited by applicable law (inctuding bankruptcy or insolvency proeeedings) in addition io an
   adininistrative fee of $150.00 assessed by Lender.

   REMEDIES OF LENDER: Upon the occurrence of any event of default, Lender shall have all of the rights and remedies of a secured
   party as provided by Article 9 of the Uniform CommerciBl Code, including, but not limited to, the right of Lender to Iake immediate
   possession. of the Collateral and anything iocated therein, .with or without judicial process, and for such purpose, to enter on the
   premises whera such Collateral may be located. In the event of default, Borrower agrees to make lhe Collateral available.to Lender at
   a place acceptable to Lender which is eonvenient to Bon•owzr. In the event the Collateral is repossessed, Borrower wili be assessed
   an administrative fee of $150.60 in addition to any repossession and storage charges, including storage charges for any personal
   property located in the Collaterat. In the event of resate of the Collateral after repossession, Borrower expressly agrees that the
   requirements of reasonable notice shall be met if notice is delivered or mailed to BoRower at the address of Borrower shown herein
   prior to lhe sale or other disPosition of the Callaierai as provided by appiicable law. Disposition of the Collateral may be made in any
   commercially reasonabte manner. The net proceeds realized upon any sale or olher disposition of the Collateral, after deducting
   expenses of the sale or other disposition, repossession or storage incurred by Lender, shall be applied to the payment of this Note and
   all other indebtedness or obligations of Borrowzr to Lender, in such manner as Lender sliall etecl. Lender shall account to Borrower for
   any stlrpius thereafter realized on such disposition, Borrower shall remain liable for any and all unpaid amounts remaining or any other
   deficiency, which Borcower agrees to pay immediately. AII rights and remedies of Lender, whether provided for herein or conferred by
   taw, are:cumulative.

   ADDITIO                    Demand, presentment for payment, notice of dishonor, and notice of intent to accelerate are hereby waived
   by Borrower and all cosigners and endorsers hereon. Lender is authorized to appropriate and apply toward payment of this Note any
   other property belonging to Borrower in the possession of Lender, as weil as any indebtedness of LenCer to Borrower, and Lender is
   hereby given a first and prior lien upon such other property. AII cosigners and endorsers consent that the time of payment may be
   extended or renewat notes taken by the holder fiereof without notice and that such extension or renewal shall not discharge their
   liability hereon.



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        ~bd                                                        Pane4W3                                             ;013 92.+5f5 212 674152017
Case 0:19-cv-62902-CMA Document 1-3 Entered on FLSD Docket 11/22/2019 Page 27 of 36




                                                                                         REFERENCE #: 1r3000008127:092


   PRQCE$$JN_G..OF PAYMENTS;, Lender's business days for processing payments are Monday through. Friday, excluding Lender's
   hotidays. Paymerits received. on a non-business day will be processed on the next business day, and Finance Charges (interest)
   contittue to accrue on the unpaid balance of the Note. The payment due date will not be extended lf it falls. on a non-business day, and
   in such event Bor•ower shoutd make the payment to Lender in advance of the due date.
   CONSENT TO PHONE AND ELECTRONLC_IVOTIFICATtON: Each Borrower agrees, in order for Lender to service this Note, to coltect
   any amounts owed under this Note,.and to prevent fraud. Lendermay contact you by tetephone at ariy telephone nurriber associated
   with any Borrower,.inctuding wireless telephone numbers, which could resutt in charges to you. Methods of contact may include using
   pre-recorded/arGficial voice messages and/or use of an autontatic dialing device. Borrower also agrees that he or she is the subscriber
   or customary. user of any viireless telephone number Borrower provides to Lender and that Boirower Iias authority to grant Lender
   pennission to cal) any such wire►ess telephone number. Each Borrovrer also agrees that Lender may also contact you by sending text
   messages ore-mails using any telephone number or e-mail address associated with any Bon•ower.

   BORROWER CONTACT (NFORMAJ]ON; Borrower agrees to update Lender immediately of any change in Borrower's contact
   information. This includes; bul is not (imited to, changes to. residence address, mailing address, phone number, and email addfess.
   Lendersall not have.any liability resul6ng fr.om Borrower's failure to keep Borrower's contact information accurate.

   WAIVER AND SEVERABILITY: No delay or omission by Lender in exercising any right or remedy shall operate as a vraiver of such
   riglit or remedy or any ofher right or remedy. A waiver on any one occasion shall not acf as: a waiver. for any other oc.casion. Lendea
   rnay.accept late orpartial payments or payments marked "in fulP' or with similar language, without waiving any rights or remedies. If any
   provision, of this. Note is held invalid, such invalidity shall not aNed the: validity and enforceability of the remaining ptovisions of this
   Note.

   SUCCESSORS AND ASSIGNS: AIl rights of Lender shall also benefit the successors and. assigns of Lender, and all obligations of
   Borrower shalt be binding upon Borrower's heirs, beneficiaries, personal representatives, successars and assigns. Borrower may not
   assign its rights aiid obligations under this Note, unless the Lender agrees :in writing to such assignment. If "there is more than one
   Borrower, their obligations hereunder shall be joint and several. Any changes to this Note must be in writing and signed by Lender,
   CREDIT REPORTING: Lender rnay report intonnatton about your account to credit bureaus, Induding negative information. Late
   payments, missed payments, or other defautts on your account may be reflected in your credit report. Borrowe.r authorizes Lender:to
   obtain consumer reports about Borrower until the Note is paid in full.

   DISPUTINO ACCOUNT INFQRMATIqN REPORTED TO CREDIT BUREAUS: We fumish idformation about.your accounl to ceedit
   bureaus. You have tfie right to dlspute the accuracy of the,information reported by writing to us at: State Farm Ba.nk, F.S.B., ATTN:
   Credit Reporting, P.O. Box 2313. Bloomington, IL 81702-2313.

   GOVERNING LAW This Note is govemed by federal law arid, to the extent not preempted thefeby, by the law of the State of Illinois.
   The acceptance. of the Note is expressly conditioned upon Lenders approval and all proceeds will be disbursed . by Leuder at its
   principal office in (llinois. Regardless of where you live, your credit application Wil be forwarded to Lender in 111'inois and Lendzr will
   process your application and make all lending decisions at or through its offices in Illinois. This Note is entered into in Illinois upon
   Lender's acr~ptance. Ail terms and conditions in ihis Note (including applicable fees) are material to the detemtination of the interest
   rate.




   ,G_CC50                                                           Pdpeacr8                                            20r~;2~is 712 07.:5.?017
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                                                                            REFERENCE.#: 1000003=002


   Oral. agreements or commliments to loan money, extenil credit or to forbear from enforcing repayment of a debt
   ihcluding promises to extend or renew - such debt Eire not enforceable. To protect you (Borrower(s)) and tis
   (Cre,ditors) frpm misunderstanding or disappolfi.tment, any agreements we reach covering tu ' ch matters are
   contained inthis Writingi
                           . which.is t'hia tomplete and exclusive statement of the agreement between us, excopt as
   Wemay later agroe in'Writirig to rnodify 1L

   NOTICt TO BORROWER: (A) DO NOT Si GN THIS BEFORE YOU READ, THE WRITING ON EACH PAGE, EVEN IF
   OTHERWISE ADVISED. (B)DO NOT SIGN THIS IF IT CONTAINS ANY BLANK SPACES, (C) YOU ARE ENTITI r-D
   TO AN EXACT COPY OF ANY AGREEMENT YOU SIGN. (D) YOU HAVE THE RIGHT AT ANY TIME To PAY IN
   ADVANCE THE UNPAID BALANCE DUE UNDER THIS NOTE.

    ACKNOWLEDGMENT. Borroweragree,s to the terms of,this Promissory Note and Security Agrelenient Including the additiontil
   lerms set forth on the preceding liages. Borrower acknowledges receipt of a completed copy -of tilts Note prior to
    cotisuinrnaticin of the loan.

   CAUTION - IT fS IMP6RTA0TTHATYOU THOROUGHLY kr-AD THE CONTRACT BEFORE YOU SIGN IT.

                                                BORRQWER(S) SIGNATURES




                                                                     x
   44SA41L.-1.y Arn,4                                                Mv Shi.riey Silkj.ss



   x                                                                 x




   X                                                                 x




   MEMBER
   FDIC                                                    popeato                                                   212-6i-i54dl7
   WNW,                                                                                                 2013 IVAIS
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                                                                                      07    StateFarmBank
                                                                                      SUto Farm BaO
                                                                                      PO. sm n2a
                                                                                      66OMkston. lMnals. 61702-2328

                                                         NOTICEOFSALE , -
  I.     - Qctqber.31,1618




         Kdliy Arndt
         1102 N 48th AVe
         Pensacloia, FE...32506-4724




       'Last 4 of Acd6iunt
        Collateral be'scelptibn, 2017 Muda MX-5 Miata
        Notd. Date: September 6, 2017
        ReposSessionDate.. Octo4er 25, 2018


       The above vehici'e has, been repossessed byState Farm Bank on ttie above repossession date dde to defaylt of
       your promissory note and security agreement, and will be sold by grivate sjI6 or any other~comrnercially
       reasonible manner, to be held any time aftet Novtmbeir 15, 2018.

       To redeem the vehicler, otamriding balance, pt 'us allow*le expentesp. Including repdssess'Von fees.;tharged"by
       vendors.bf   400.
                       $00and a,$150 administrition fee must be paid on or before November 15, 2018. Reposslession
                                                                                                                   I
       kes rhay be subject tb 'chatige d ue'to
                                         -     additional fees for vei'
                                                                      ndor expenses and will beassessed to ihe loan once
       ihe collateral is redeemed or sold. Call us for all fees and the exact amount requiredto redeem the vehicle.

       As of the date of this notice - the outstanding balance, plus allowable expenses to redeein th.41-4ehicle,lissbown
       below:




  Interest continues to accrue per day ot $5,21.

  You may have the option'to reinstate the vehitle for less than the.total'airriount to titdeetnivehicle as listed
  above. You wodld be required to pay past due payments, all fees, plus zillowable expenses in order to reihttatEi.
  Qli us    to see It you arepligible fqr a reinstatement and for the exatt amount required to reltistate the Vehicle.



        MEMBER
                                                                                     )qome office. mmmiARtm IL
                                                                                                                      121
                                                                                                                      Mr-WO®R
        FDIC


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                                                                                                  Sla~eFarrn Banlk-
                                                                                                eOx 2328
          'We will disclose                                                                  91`
                                                                                               14191-- mfws 617czzm
                              Vehlcle-iOcation from:where you
          Ifihe- vehicle-is sold, th&- pm                     miiy recover it "Pon redemption or irqlnstatement.
          You?ll
                 remain liable for ari yCeeds, less 21111OWibleexpense;# Will-be iPPlied to the 'Outstanding. n
         .SuBjec-f To                    del`164MCY balance on the note pl -
                        SUITAN
                                    UABIILITYIF,Tfit:AMOUNT013-rAiNE        us Interest ai the contract t , ote balan.ce'r
          INSUFFICIENT To pA 1)                                                                        ra
                                 Y TNE COPJTPACT BALANCE AND ANY 1) UPON DISPOSITION OrTHEe. YbU MAY IIE
         ,than yo                                                                                         VEtilctE IS
                  u Owe, to the e34ent PIrTnifted by                      OTHER     AM
        ,Other debts Vou                                 VPur toon docum               OU NTS DUE- If the PrPceeds are YnoTe
                           Owe to State Fartij gank. Any ret-hainl ..ents and aPPlicable law, the SUTOIUS Will
        to-SfateParm B~ank are paid, Will b                                                                         he: appjjedto
                                                                      ntlurplus-arter aliawabi expehset ana Other-debts
                                                e reftinded.                                                                 owed

        UPon re4uest, WL
                       - Will Provide a
                                            Written accounting regarcift.the dispbtltlbtl ofthe rniotdr veti l
                                                                                                            c e,
       If YOu have any-queSt!Ons regarding the vehicle, or
                                                           '
                                                           woufd like to retriev
                                                                             . . e OerSonal propierty ih the vehicle, PiLiAse
       Contact us at,tbe Phone "UMber Or address listed below.

      State Farm Bank 0
      Attn: Repossessi'on Team
      PO Box 2328
      Bloomington, IL 617()2-2328

     888-860-8530, Option I Phone
     800-881-1306 Fax


     Plea-se note: This loan has been sold to Twenty-One-Eighty-F.Ive LLC,:a subsidlary of State'Farm Mutual
     Automobile Insurance Company. State Farm Bank continues to service thisloan.

    If you are dOaf, hard of hearing, or do not use your voice to co(brnunicatkYOU MaY cOntact us'via'711
                                                                                                          at other
    relay serviices.

   This messagp is from a debt colleoor.


   N&Ite.-. S6616e"ine—m"bers on "active dtity' or "active 56rvice, or a spouse or ftendent.of such a
  servitemember may be entitled to certain lagat prdtections and'debt relief Oursuant to the.Servicemembers
 Civil Relief Act(50 USC APP 501-597b)(SCRA). ServiceMembers'and dependents withquestions about the SCRA
 shovid contact their unWs Judge Advocate, or their installation.'s Legal Assistance Officer. A miiiiM'ILigal
 assistance offite locator for.all branches of the Arm'ed Forces is available at
 http://Iegalassistance.law.af.mil/co.ntent/locator.p4p.

                                                                                     if youare listed as entitled to
"Military OneSource" Is-the U. S. Department of Defense's information resource.
                                                           to www.m'ilitaryonesource.mil/leg'aI or call 1-800-3427-
legal protections under the SCRA (see above), please go
                                                out more ihformation.. Dialing instructions for areas outside the
9647(toll free from the, Unites States) to find
United States are provided on'the weWte-


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                                                                                                                               -OR,
   MEMBER                                                                                    tkme Oft Bloomington, IL
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                                                                       ~5~'ate~FapmBank-
                                                                      Stak rarm Oanit
                                                                      P.O. 8vs 2328
                                                                      11400min8lon.11llnols 61702•2328




              December 17, 2018


           Kelly Arndt
           9102.N 48th Ave
          Pensacola. FL 32506-4.724




          Accouni Number:           8548590781
          Year, Make; Model:        20.17 Mazda. N1X:5 Miata
          V. r. N. #;                JMiNDAM75HU10519.7


          Dear Ke1ly Arndt:

           Enclosed is a repossession statementwhich proViiies ait accounting f,or'the
           disposition of your repossessed vehicle.
           If you have any questions, please contact us .at 888-860-8536.

          Respectfully Yours,
          State Farm Bank, FSB®
          Recovery. Department
          888-860-8536




                                                                                                         ...
                                                                   Home:Oftxc. 81oomlagfoiOt        Ci~i t~d
       F®IG



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                                                                       State Farm Ban-k. -

                                                                ebud4tan. VAInals 61162-2,328




                                  REPOSSESIMION STATF-muT

                                                                       Decembe't V, tioig
       KellyArndt
       1102 N 48th A.
       Pensacola, FL 32506-4724

        Account Number.            '$52-850590781 -1
        Year,,Make,fflodeh,        .2017 Mazda W-5, mizita
         V. L N.                    NINDAM751-101051-:97
         Uata,Sold:                 December 41, 2018
                                                    ,
         Selfing Price:             $23,500.00




                                         Account D!Rpositirr~

                 Principal Balance                                 +
                 Accrued Interest                                  +                   357,25
                 Late Fees due as of Repossession                  +                  $ $1.31

                                                  Gross Salanew,


                 SMlirig Price (above)

                                                     Net Balancel.                  $13j231.11

           Pl.us,Allowable Expensm
                                                                     +                $I-i269,7 . 5
                  Re possession/Rernarkefing Fees                                        .$ UO
                                                                     +
                  Miscellaheo'us Fees

                              Deficiency ar. of-. December V, 208                   $14,600-86

            DailY interest -accrued: $ 1,83




                                                                                                 1:~~l
                                                                                Bkmingtm IL COMM
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   EORM 1.997. CIVIL COVER SHEET

   The civil cover sheet and the information contained in it neither replace nor supplement the filing and service of pleadings
   or other documents as required by law. This form must be filed by the plaintiff or petitioner for the use of the Clerk of
   Court for the purpose of reporting judicial workload data pursuant to section 25.075, Florida Statutes. (See instructions for
   completion.)


       i.       CASE STYLE
                                     IN THE CIRCUIT COURT OF THE SEV.EN'hEENTH JUDICIAL CIRCUIT,
                                         IN AND FOR BROWARD COUNTY, FLORIDA



                                                                     Case No.: CACE-19-021264 (09)
                                                                     Judge:
   Kelly Arndt. Sliirley Silkiss, individually and o/b/o all others similarly situatedl
   Plaintiff
               vs.
   P%ventv-One Eivhty-Five LLC. State Farin Banlc F.S.B.
   Defendant


       IL       TYPE OF CASE

                                                                               ❑    Non-homestead residential foreclosure
            ❑ Condominium                                                           $250,00 or more
            ❑ Contracts and indebtedness                                       El   Other real property actions $0 -$50,000
            ❑ Eminent domain                                                   ❑ ' Other real property actions $50,001 - $249,999
            0 Auto negligence                                                  CO   Other real property actions $250,000 or more
            El Negiigence — other
               0     Business governance                                      0 . Professional malpractice
               ❑     Business torts                                                   0     Malpractice — business
               ❑     Environmental/Toxic tort                                         g     Malpractice — medical
               [I    Third party indemnification                                      ❑     Malpractice — other professional
               ❑     Construction defect                                      0 Other
               ❑     Mass tort                                                        2     AntitrustlTrade Regulation
               ❑    Negligent security                                                El    Business Transaction
               El   Nursing home negligence                                           g     Circuit Civil - Not AppEicable
               0    Premises liability — commercial                                   ❑     Constitutional challenge-statute or
                                                                                            ordinance
               0    Premises iiability — residential
                                                                                      0     Constitutional challenge-proposed
            ❑ Products iiability
                                                                                            amendment
            0 Real Property/Mortgage foreclosure
                                                                                      0     Corporate Trusts
               0    Commercial foreclosure $0 - $50,000
                                                                                      El    Discrimination-employment or other
               0    Commercia( foreclosure $50,001 - $249,999
                                                                                      ❑     Insurance claims
               0    Commercial foreclosure $250,000 or more
                                                                                      Fl    Intellectual property
               ❑    Homestead residential foreclosure $0 — 50,000
                                                                                      ❑     Libel/Slander
               0    Homestead residential foreclosure $50,001 -
                                                                                      ❑     Shareholder derivative action
                    $249,999
                                                                                      El    Securities litigation
               ❑    Homestead residential foreclosure $250,000 or
                    more                                                              ❑
                                                                                      _     Trade secrets
               El   Non-homestead residential foreclosure $0 =                        ~I    Trust litigation
                    $50,000
               ❑    Non-homestead residential foreclosure
                    $50,001 - $249,999
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                                                 COMPLEX BUSINESS COURT

       This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
       Administrative Order. Yes ❑ No Z


        II1.    REMEDIES SOUGHT (check all that apply):
                    © Monetary;
                    © Non-monetary declaratory or injunctive relief;
                    Gsl Punitive

        IV.     NUiVIBER OF CAUSES OF ACTION: (.)
                (Specify)


                4

        V.      IS THIS CASE A CLASS ACTION LAWSUIT?
                    © Yes
                    ❑ No

        Vl.     HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                    N No
                    I] Yes — If "yes" list all related cases by name, case number and court:




        VII.    1S JURY TRIAL DEMANDED IN COMPLAINT?
                    0 Yes
                    ❑ No



I CERTIFY that the information I have provided in this cover sheet is accurate to the best of my knowledge and belief, and
that I have read and will comply with the requirements of Florida Rule of Judicial Administration 2.425.

Signature s/ Robert W I1%lurphY       FL Bar No.: 717223
          Attorney or party                                               (Bar number, if attorney)

        Robert 17V Murph         10/1 l/20:19
                (Type or print name)                                         C1ate
